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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION



  DAVID SAMBRANO, individually and on
  behalf of all others similarly situated, et al.,

                          Plaintiffs,

                  v.                                 Civil Action No.: 4:21- 01074-P

  UNITED AIRLINES, INC.,

                          Defendant.


                   MOTION FOR TEMPORARY RESTRAINING ORDER
                         AND PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65 and Local Civil Rule 7.1, Plaintiffs

respectfully request that the Court issue a temporary restraining order and a preliminary injunction

enjoining Defendant United Airlines, Inc. (“United”) from enforcing its COVID-19 vaccine

mandate for all employees who have requested or will request an accommodation from the

mandate until United has granted reasonable accommodations as required by federal law. To date,

United has failed to do so. Rather than engage in a meaningful interactive process, United is

forcing all employees who requested an accommodation for religious or health reasons to either

abandon their request and receive the vaccine by September 27, 2021, or effectively lose their

employment. That is because even for the requests United has granted, the only accommodation

offered is indefinite unpaid leave and loss of benefits. As explained in the accompanying

memorandum and supporting exhibits, United’s failure to engage in the interactive process and its

failure to grant reasonable accommodations violates both Title VII of the Civil Rights Act of 1964

and the Americans with Disabilities Act.
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       Accordingly, to prevent irreparable injury, the Court should grant this Motion and

temporarily enjoin United from: (1) terminating any employee for failing to receive a COVID-19

vaccine if that employee has requested an accommodation for religious or medical reasons;

(2) placing any employee on unpaid leave as a form of accommodation from the COVID-19

vaccine mandate; and (3) denying as untimely any request for religious or accommodation from

the COVID-19 vaccine mandate.

September 22, 2021                                Respectfully submitted,

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                                                  /s/ Mark R. Paoletta
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                                      Counsel for Plaintiffs and the
                                      Proposed Class




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                               CERTIFICATE OF SERVICE

       On September 22, 2021, I filed the foregoing document with the clerk of court for the

United States District Court, Northern District of Texas. I hereby certify that I have served the

document on all counsel and/or pro se parties of record by a manner authorized by Federal Rule

of Civil Procedure 5(b)(2).

       Additionally, I communicated both by telephone and email with Ada W. Dolph, Seyfarth

Shaw LLP, who informed me that she was counsel for Defendant, and that the following attorneys

would be representing Defendant in this matter:

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      Notice and a copy of the foregoing has been provided to these attorneys via the Court’s
ECF system and via email.


                                                    /s/ Robert C. Wiegand

                                                    Robert C. Wiegand, Attorney for Plaintiffs
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                            CERTIFICATE OF CONFERENCE

       On September 21, 2021, I conferred with Ada W. Dolph, Seyfarth Shaw, LLP, attorney for

Defendant regarding the relief sought in the foregoing motion. Agreement could not be reached

because Defendant is opposed to the relief sought. Accordingly, the foregoing is presented to the

Court as opposed.

                                            /s/ Robert C. Wiegand
                                            Robert C. Wiegand, Attorney for Plaintiffs
